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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     AMARILLO DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
      Plaintiff,                                   §
                                                   §
 v.                                                §   Criminal Action No. 2:19-CR-051-Z-BR-(2)
                                                   §
 RENE RIVERA (2)                                   §
                                                   §
      Defendant.                                   §

                    ORDER ADOPTING REPORT AND RECOMMENDATION
                            CONCERNING PLEA OF GUILTY

         On December 11, 2019, the United States Magistrate Judge issued a Report and Recommendation

Concerning Plea of Guilty (“Report and Recommendation”) in the above referenced cause. Defendant

Rene Rivera filed no objections to the Report and Recommendation within the fourteen-day period set

forth in 28 U.S.C. § 636(b)(1). The Court independently examined all relevant matters of record in the

above referenced cause—including the elements of the offense, Factual Resume, Plea Agreement, and

Plea Agreement Supplement—and thereby determined that the Report and Recommendation is correct.

Therefore, the Report and Recommendation is hereby ADOPTED by the United States District Court.

Accordingly, the Court hereby FINDS that the guilty plea of Defendant Rene Rivera was knowingly and

voluntarily entered; ACCEPTS the guilty plea of Defendant Rene Rivera; and ADJUDGES Defendant

Rene Rivera guilty of Count One of the Superseding Information, in violation of 21 U.S.C. §§ 841(a)(1)

and 841(b)(1)(C). Sentence will be imposed in accordance with the Court’s sentencing scheduling order.


         SO ORDERED, December 26, 2019.


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                                                   MATTHEW J. KACSMARYK
                                                   UNITED STATES DISTRICT JUDGE
